Case 2:17-cv-00399-T.]H-.]C Document 19 Filed 03/27/17 Page 1 of 3 Page |D #:48

 

 

 
 
 
  

l VICTOR SHERMAN ES .(Sstate Bar No.: 38483)
LAW oFFICEs oF VICTU`R RSHERMAN
2 A Professional Law Corp
11400W West 01 ic Boulevard, Suite 1500
3 Los Angeles, li ornia 90012
4 E-Mail: SSVicto aol.com
Tele:' f310z 399- 259
5 Fax: 310 392-9029
6 Att f Claimant
7 MANOm[§E.XI-GOMEZ
8 UNITED STATES DISTRICT COURT
9 FOR T]IE CENTRAL DISTRICT OF CALlFORNIA
10
11 UNITED STATBS OF AMERICA, Case No.: CV l7-00399-TJH(JCX)
12 Plainti'fr,
CLAIM 2:(VERIFIED) OF MANUELA
13 vs. GOMEZ
14' '$»1.46,780.00 in U.S. Currency,
15 Defendant.
16
17 MAN’ UELA_ GOI\/fEZ,
` ` claimant
18 .
19
20 Pursuant to Rule G(S)(a), Supplemental Rules for Certain Admiralty and
21 Maritime Claims, claimant, Manuela Gomez, hereby de -~ 4 ds restitution of
22 $146,780.00 in U.s. currency, and claims the right to efégd this action
23 Claimant’s status is that of lawidl owner -
24 defenth property.
25 I declare under penalty of peljury under ~.
26 the foregoing is true and correct.
27 DATED: Marchl'b, 2017
28

 

 

 

 

 

 

Case

\OOO\]O\\/\-[>UJN»_~

NNNN'_"'"‘*_‘*-‘»-*v-*v-‘»-»»-»-»
§§Y\U§w-o\ooo\lo\m;>ww~c.

P:l?-cv-OOSQQ-T.]H-.]C Document 19 Filed 03/27/17 Page 2 of 3 Page |D #:49

Attorney Victor Sherman is duly authqrized to

 
 
 

DATED: Marchz'] 2017

  

y for Clairnant
Manuela Gomez

 

 

Case

\OOO\]G\U`i-ldb~)[\)»_‘

[\)[\)[\J[\)l\)[\)l\)[\)[\)>_¢»--\>-‘»-‘>-\i-li-i-\»_o»_¢

2:17-cV-OO399-T.]H-.]C Document 19 Filed 03/27/17 Page 3 of 3 Page |D #:50

PROOF OF SERVICE

STATE OF CALIFORNIA
Ss.
COUNTY OF LOS ANGELES

I am em 10 ed in the County of Los_ Angeles, State of California and arn
over the age 0 1 and not a p_arty to t_he within action. My business address is
2115 Main Street, Santa Monica, Califomia 90405.

On MarchZ/]2017, l served the foregoing document described as:
CLAIM (VERIFIED) OF MANUELA GOMEZ

on all interested parties in this action by placing a true copy in a sealed envelope
addressed as follows:

Christen A. S_»proule

Assistant United States Attorney
312 North Sprin Street

Los Angeles, C 90012

I caused such envelope t<_) be sent in the U.S. Mail with prepaid postage .
affixed from Santa Monica Califomia_to the above addressee._ I am employed in
thedoffice of a member of the Bar of this Court at whose direction the service was
ma e.

I declare under penalt of perjury, under the laws of the State of California,
that the foregoin is true an correct except as to those_ matters stated on
information an or belief, and as to those matters, I believe them to be true; and
that this Declaration was executed at Santa Monica, California on March,'?‘l 2017.

 

 

 

